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                                                                                Attachment B

                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                   (Northern Division)

KESHEA TYRELL,                                    )
                                                  )
Plaintiff,                                        )
                                                  )
v.                                                )   Civil Action No. ELH-18-643
                                                  )
THE BOARD OF TRUSTEES OF ANNE                     )
ARUNDEL COMMUNITY COLLEGE,                        )
                                                  )
Defendant.                                        )


                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff, Keshea Tyrell, and Defendant, The Board of Trustees of Anne Arundel

Community College, by and through their respective undersigned counsel, hereby stipulate and

agree that all claims asserted in this action are dismissed with prejudice, with each party to pay its

own costs, expenses and attorneys' fees.


                                               Respectfully submitted,

                                                              /s/
                                               Steven D. Frenkil (Fed. Bar No. 00087)
                                               Lindsay Sfekas (Fed Bar. No. 19893)
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                                               Attorneys for Defendant
        Case 1:18-cv-00643-ELH Document 20 Filed 03/21/19 Page 2 of 3




                                                     /s/
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                                       Attorneys for Plaintiff


SO ORDERED this _____ day of ________________, 2019.



                                          Ellen L. Hollander
                                          United States District Judge
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                                CERTIFICATE OF SERVICE

       I HERBY CERTITY that on this 21st day ofJoint March 2019, the foregoing Joint

Stipulation of Dismissal with Prejudice was filed electronically and served via this Court’s CM/ECF

system to counsel of record.



                                                            /s/ Steven D. Frenkil
                                                     Steven D. Frenkil
